Case: 2:07-cV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 1 of 17 Page|D #: 1

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nm¢mcm°_¥mm, mm

mm sum‘zs. Indlvld\mlly -
and as p;ainu.rr'nd arm mri
KARLA .I.AMMBRB¢ d€CBllld, '

Plaintiffs,
v_. _ v ` .'
sEYlD SAJADI, M n.,

Jl-.‘.E'ER€Y TURK, N,D., and
SAHARITAN mR'IA'h HOSFITAL

.r __. _

De.fendantl .

 

CO!EB flow, Plainti:‘.'£, Dann¥.'$ll.t¢a, by and through his
attorneys of xecord, and £dr-_..lr`)igs cease of action "`agoinsr
~:.h¢ Defendanis, and each of .them, alleges a‘nd spat¢s' as
.l.'n:‘§i.]_.<'_:w$':‘V j . ` ;'| '

m.z.@'rtous comm _ _'ro ALL cc_u_g'gs

. l l :
l. Plaint§.!.'f, Dnnn_y 'Slatés. is the sole durvivjng
4 _ l i
child of D¢cedant, Km"la La.uueP, is within the glass ot{
individuals who m`ay bring a' wrongful death action and has

been duly appointed as the plaintiff ad litem for Deo¢dun_t
Karla L¢mers. ` ' ' _ § § '
" ` 2 be!¢ndants, Seyed Saphdi and Jeffrey Tu:.‘k are and
were iii all times hereinafter-§m;optioned physicians licensedl

in the State of missouri to §r;i_zét'ica cl rl!ed'i.¢t~.':l.z'mj 1

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Case: 2:07-cV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 2 of 17 Page|D #: 2

3. Detendant Samn:~itin{ memorial hospital ' la n

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corporation organized and exibr.‘inq under the lanes of the

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_ St¢te o_f ulseouri.. ` ~ § _ , _..

4.. Uofuw.‘laht Jefl'rey i'l‘}.'li"k, |.‘I.D. ' at gell tilmns
'_ relevant represented and holdl hlmself out to the public.`
and in pn:`r:tlcular to Plalnt'!'|'i‘i hal Decedenq, al spoc'.iallots_
:'.n the field of radiology. ! `
' 5.. defendant Sayecl Saj:adi, M.D. l at '. all-l times
rehth z=p're'éem.ed me held himself mm to the publlc,
doctor qualified to render lT\di.cal care in an emergency '
r"o`¢m'.- -~ ~ : § - `
"6. ~' At all xelmvalu_: “t;:llnns;. nefandnnt Samaritae n
nemv:lal nospllal held lt¢¢11§'o`ut as having the racilltl¢s.
aquipment, phyalclans, sth!f, :lm'lnes, and other medical and
nursili'g penonnel who wei-a u§p§etgd to be well trained lo
their leewath fields and able to rendeg: skillful, p.c¢pcr
ind expert serv'\ cas to properly |truat Kar.l.a La.mmers. _
`1'.` 1 AL-. all relevant tlmea§, defendants sajadl and ~rur'k _
were thc lgsnts, employe }o_.t.' servants of Defendant. ..
.$`iuiarit`an Mmi\nrial Holp:l.ta.'|. '¢pd' acted within the cour_se and
sopp¢'u£ that muployment. i l _ ,
- " "'8~. on' april 19, 2004,iKm.-1a human arrived _`at the

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l)

§emnrltan 'Mui\hrlal Holbital ieinergnn::y room via :mbulance

{`myslmnoe.}

l Case: 2:07-cV-00011-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 3 of 17 Page|D #: 3

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with complaints of shortness of breath and chest poin.
Barlier in the day, she almost passed out.. `

'9. ~' Karln hammers pas been in tha emergency room bg" `

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bofendan\. Bajadl on April 19, 2:004.
_ '10. N.‘nlle she was 111 the' emergency room, karla `La'muers
made additional complaints or- pain in her right shoulder`
radiating into her neck. fm addition, she complain`¢d of "
.\needl'e'l" in. her chest when she would t`aho a deep _brm:l'th.
' 11. While' she lwas at the !holp:l.tsl oh April.l§., 12004,
Knrl¢ Lanlmers received a chest .`.x~ray l j ' l ;
12. while she was _in-. cho/hospital mgl Ap¢ll 19. zo'o`q,
Karla_' lamer had an electroc;n.|‘dio-gram., ' : d
13'.' Ths electrocardiong \'»)u abnormal .
14. Notwithstandlnq 'Karla_ Ll¢mm\`ra’ sympl.oma "'lnd _the
' ` results of diagnostic teets', nefendant Sajadi discharged
l£aria Lmlle`ra Lo go home. ' » l ' l
15'. On Apri]. 20, 2004, $u'rla Lammers again arrived at`
amr'l ten H¢morial Hospltal via ambulance with. complaints o`£
right shoulder padn, chest pain, and shortness of breath.,
l 16. 011 April 20, 20041, liarla 'Lmnmars died \lr_hile l\;L ,
Samar'itan Memor`lal Hospittl. : 1
l -`1'~‘~/. ' Deferidant T\.u.-k did§' no:t interpret Karla .Lah\mers :_`;-

ray= until A'p=ll 21, 2004. j ' 'j - . ~=

v “~"mumm.oa:t ,

Case: 2:07-cV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 4 of 17 Page|D #`: 4

18. An autopsy of Knr.Ll." farmers dctcmined thnt- hile:
cause of her death won multip:ié bilateral pulmonary thrombo-

melia ' ' ' l -. -
gogm' 11anch BLH` l , '
' - c(__RIE NON Plainti£'£n a_nd ¢qr Count I of their Pnti\_‘ion

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-1_9. -~ P.Laintiff incorporath by= reference each and

every allegation contained '_in Paragraphs l- -lB of tnlc

pension us though fully set .'Eo'l:'\.h herein. ' ' '
'20. Im£andanb Sa']adi w'es negiiqont i_n _thc'\ followin¢
particulars: , ' '.' i'; " -';

a. `In failing to r:e<r:oignize thet' Decedunt'ls ohost
x-roys and abnozi\:d! electrocardiogram was.\’.‘1'.~e:l:\'|:.eclf
admission into thin hospital on April l-,§, 1004, ~
nor a discharge 'c¢-:» co home,- l

b.'rn telling to adickes decedent.' or heir "pbnoma.\
cl mtrocardl.ogram? n . \

c. In failing to rqc¢mend additional didgpostic
worku.p to either c:qnfi rzn or exclude e diagnosis ' ~
of a pulmonary emholismz ' ' »" v d

d. In discharging Decédent on Apr:ll 19. 2004;

e. In failing to? recommend ' Lhe _a.ppropriatn'
rc£ec'ral for additional 'diegnostic \wo'r_'k. pp to_

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l?)HBlm-DUC 1 4 `

Case: 2:07-cV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 5 of 17 Page|D #: 5

either confirm or exclud¢ a diagnosis of a

pulmonary emboli$rl§; §
f. In failing to obt;ai;n a p\_:lmcma:y or cardi_olbgy(
consult; § l . v
g. in such othmr§ 'plkr\:icula:s .aq may: becomé. .
apparent during #}}e§ courage of.discov::~z~y 'i.n this
case'. § l '
'21. De£endant: Turk w:as niogli‘gent in failing co
intorprct the x-'raya of Aprq.li 19, 2004 until after Llhe,
death of kal-la Lammera and in ltaillng to advise Dafandhn“\‘..,
sajadi or necessary additional work up to either" eoq::l.m, `or t
exclude l diagnosis or ai pulmonary mbcli»m or ls'n;|:.¢':: l
pulmonary or cardiology problems § l
22. rn addini¢n co being vicariously liable for the `_
`negliqent. acr.s of _De£andan_};$' adjadi amd Turk under 't;h`_e
§§`c;?:i"ixi's` o"{' r_éspo.ndeat 'sqperior, Da£lmd¢ht' Samarl§\n ‘
Hei\idi:ial"- :'H`cispi'tu.l independe'ptly was r'.\qgligent "‘.i.!'xi .th:e §-
following particulars: f ' § ' ' l . . '
a. In hiring and/or retaining Seyed $ajadi without .
` performing an appropriate backq:bund: check im§o'
his credw!.lnls a`nd backgrounds ` ,
b'.' m failing to have appropriate po_l:l.\`:i.les ahd
procedures in pjla_ca§ that would allow for: tirmely

titarral's to sbd'ciallsts or instituti:ona that

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mummnoc.; ,' .

Case: 2:07-cV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 6 of 17 Page|D #: 6

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would have allowu4§.1€arla Lnlmers l_o receive

timely medical care§
c. In Iu¢:h ot.her pattibulars as is learned through
discov\.ry. : §
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23. ha a direct an§:i §proximate _result 'ut the

§ l.
negli.gonm of these dcfonda.ntt |es set forth in Pa#agraphs

 

20 through 22 of trail Petiti.on,‘ Dc¢:odent .cl.i_ed on Apri.l 20,;
2004, and ¥lairrrn"t=t.'r Dimny Slntee§ was damag¢d L!:le.\t\'a'!>_\,'T §

24. Al_ "a' direct an'd` -broxinmte result ,'o£ the

 

negligence of tunc defendants as sat forth in Paragr.»phs

20 through 22 of chin T*at:ltion, Dacadcnt was fo`rced to
endure severe . and debilitaci.n§g pain and sutfdri‘ng that
waulu`"not~have eth¢rwis'e been n+c:¢llnry.' § '

_ WHEDEFORR, Plal_nt,.i.£.l.'s neéru§e|st judgment in their favor l-
in an niount that is fair and§jlust, .‘..n excess of $25, ODD, '
fur Lh;ii.r costs incurred heraln§ and fox such further reHa§f . ,
a's Lhe court deems just. § `

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CQH!. NQW Pl'aintiffs and fair count ll of their Poti.tion

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25`. l:¥';L'n.i.ntltf inco)_:pornte§s' by reference each and

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avery allegation aontained in f,'P raqraphs l-lB and 20-22 of ‘

this ?¢tition as though fully s§ot forth hernin.

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murnmmc.) § . § |'

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Case: 2:07-cV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 7 of 17 Page|D #: 7

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§roximate 'renult of the

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negligence of these defondanto§ q§o set forth i_n Paragrapns

.20-22 of thin Pet.ltion.

significant and substantial

lD c§edent_ lost a muterial,

|nce ¢>£ survival' and/or
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recovery that she otherwis\ h d§ it she had reoeived the

_ appropriate work up and treatmon' ' §

WREREE'QR_E, Plain\'.$ f‘l‘o roq§.z icc judgment in their favor

in an amount that is fair and; gust, in excess of $25,'000¢_

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for their costs incurred herein a§nd for such further relief

as the o`ourt deems just.

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Hn S. xoll£ns #42265
dana a RoLLINs, ?.c.

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K gone City, Hiasouri' B-M.ll

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.q_,~__ ..`

 

 

 

Case: 2:07-cV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 8 of 17 Page|D #: 8

 

 

 

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Case: 2:07-cV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 9 of 17 Page|D #: 9

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Case: 2:07-CV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 10 of 17 Page|D #: 10

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- DANN! $.¢ATES, Indlvidually .§

H..D_,d. as Plaintiff Ad laitQ|ll for
KARL'A IMRB¢ dac“l.d¢

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sEYzD sAJAnI, M.n..

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Defendance.

 

rul dodd ¢lUIB BSUNI, Plaidtif£ Dannv Slntos is her¢by
appointed as Plaintiff Ae Litdn§p`ursuahn. co R. s. Mo. j

5537. 021 in his cause of actiohlfor the dechdant Karla

Lammers. `H ! 5 ` ;

 

Case: 2:07-cv-00011-JCH` Do"c.'#: 1-2' Filed: 02/09/07 Page: 11 of 17 PagelD #: 11

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m m m mr dr!i\'q\'cow m nassau
mm'sm'bms, Inaivmunny ' ' : :~
.and as Plainti£.f Ad Litm for-' .2
KAR_LA LAHHERB, deceased, "

rlaintiz:s, }:

 

v~ _ . 2 ': C»as[P No.

SEYBD SAJADI:, M.D», l
Et'»‘ll §
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Defendant.a. `

    

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CQMES NOW Plaint.i.£! Danny| 'Slllt¢¢ byl and through his
attorneys of record and uffeh:d§ §hhe followd. g Suggeetionl in
support pf his notion to Apd¢!inn Plaint tr Ad Lite_m,' so
&fxaL rlaintif£ may pronout¢z the claim¢ listed in his.
Petition. for W:¢ngful Daacl} illtr; support ot _this Mot:iem',
Pla:l_.nti£! allegel and statu a§s §§ollowa_¢ ` `

1. 'L"nat at the time c.§f§ §'her daathp dece¢¢ht Ka_rj§a l
Lax'mn\rs was possessed or a §a|use u_£ action for"'porecna:'l

injuri¢i to her in the manne§ land under r.h\ circumstances

 

as alleged in Plainr.ir£'s l»er_-lp§on for sun§:l.val Damag\s.. -
2. Thet R.`S.Mo. § 53_7. §§ provides§ that when there

T"

exists a cause of action_ §'£o:r injuzie , which, action

survived the death of the per§§¢§nl injured, the C:.rcuit Court _-
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in which th'a action is brouth "shall_ appoint a blainr.iff

 

Cas_e: 2:07-CV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 12 of 17 Page|D #: 12

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bad-litem at' the request §§ l the p1a!l§ntiff or oth¢r

integrated person ns delinea_i:<§a| in 5 537. 030 and that such
pardon shall be entitled to l§\: .proceods pf such actfo"ns.'

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Such plaintiff ed litem may m§|l§r§.ain such §ction instead of

a personal repr¢sent‘.ative of §l§e deceased and may maintlhin
~.~.h¢ action as an alternativé 't!_:éory in an aqtion under 5
531.090 . . ." n s. uo. s 531.!0§§ ;1¢1>(1993)§ §
3; 'Plaintl.‘:: Danny Sl§t§es was tn§- son of mrla
‘ _ Lllrme`ra lt the time of her de+§i is the pérson entitled tq
maintialn_ ah action under R. SLMo. §537 08€§ and denies to
qurhuc' an action against thd Dafenda.nt§ named in ,h:`.s
Pitltion for Suwival naman l<Sr in thel MLernat.ive for
wrong£\il -Death, and pure pt to R.:L.Mn.‘ 6537.021¢
nsp¢=£tully requests the cop _; :to appointihim al P§:aln*.::£££. :
.v.d Lit..m on behalf of h_is _d§c:eased mothnlir, f<arlalLammsr§
Ecr' Lh,is purposa. ' ,'; § 1 §
l mREFQRE, on the fo§;a|g¢:§inq tactL "and_ grounds,
Pla`intif£* respectfully m¢?vn'l §¢Ha Court _o appoint Da§ny
'slacés"as-'Plaiuufr 3d mcdgn:;én behalf off decede:';c`)<mh

Lamma'r`s for the purpose ar flli!n'q the Pet.t_tion fcc Bu'rv.iv.ql

Damagea 'or in the Alternativé .'f*qr wrongful §Danth.

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Case: 2:07-CV-OOOll-.]CH\ Doc. #: 1-2 Filed: 02/09/07 Page: 13 of 17 Page|D #: 13

  
    

   

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l 1_1 qst r. RoLLINs. P.c. -
- 510 Bellavie\,¢ ¢
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'p nemon (616) ?56-5800

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Case: 2:07-CV-OOOll-.]CH Doc. #: 1-2 Filed: 02/09/07 Page: 14 of 17 Page|D #: 14

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and al Plointif£ Ad Litm lot
-KARLA bAlIERS, deceas\d,

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am SAJADI, M.D., \
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Plaintiff respectfully moves the Court. to appoint Danny
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and £éi- such other rel.Loi.'. as the Court deems just and

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